Case 1:04-cv-00397-GBD-RLE Document 927-100 Filed 07/02/15 fl -
EXHIBIT

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Palestinian National Authority

No.:
Date: 2/10/2002

Palestinian General Security

General Intelligence

West Bank Governorates Directorate
Department:

General Intelligence

His Excellency, Brother, President and General Commander, may Allah protect him.

Office of Head of Service

No,: 3807/ME/2002
Date: 2/22/2002

Greetings of the homeland.

Incoming

Subject: Islamic Jihad

The person, who wanted to perpetrate a suicide operation, of whom | told your Honor
yesterday, was arrested today in Tulkarm. The arrest took place in the afternoon in
cooperation with the brothers from the Preventive Security.

That person was:
1. Mohamed Mashhur Mohamed Hashaika, who was born in Taluza in 1981,

Two other men were arrested along with him. The two recruited him, equipped him, and
were about to transfer him across the Green Line:

2. Nasser Jamal al-Shawish, who was born in al-Fari'ah in 1971.
3. Saleh al-Bukhari, who was born in Nablus in 1976.

They are all being interrogated.

The matter is at your Excellency's discretion.

Please accept my utmost respect.

Head of General Intelligence
Northern Governorates
Tawfig al-Tirawi

[signature]

CONFIDENTIAL 02:010270
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

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MARK I. SOKOLOW, et ai.,
Plaintiffs,

No. 04 Civ. 00397 (GBD) (RLE)

VS.

THE PALESTINE LIBERATION
ORGANIZATION, ef al.,

Defendants,

DECLARATION OF YANIV BERMAN

Yaniv Berman hereby certifies, under penalty of perjury of the laws of the United States,
pursuant to 28 U.S.C. § 1746(1) as follows:
k The attached translation from Arabic to English is an accurate representation of the

document received by my office, to the best of my knowledge and belief. The document

is designated as D 02: 010270.

g: I am a professional translator with an M.A. degree in Middle Eastern Studies from the
Hebrew University of Jerusalem (Israel). I am fluent in Arabic and English, and | am
qualified to translate accurately from Arabic to English.

3. To the best of my knowledge and belief, the accompanying text is a true, full and

accurate translation of the Arabic-language document bearing the bates number D 02:

010270,

Dated: March 12, 2014

we) 33 oo
Yaniv Berrhars

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